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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

PIERSON VALLES,                                 §
                           Plaintiff,           §
                                                §
v.                                              §       CAUSE NO. 4:22-cv-00568
                                                §
ACT, INC.,                                      §
                           Defendant.           §

                       PLAINTIFF’S ORIGINAL VERIFIED COMPLAINT

                                         I.   INTRODUCTION

         1.      Pierson Valles, Plaintiff (“Pierson”), brings this action for injunctive relief,

attorneys’ fees, and court costs against the ACT, Inc. (“ACT”) under the Americans with

Disabilities Act (the “ADA”) and Section 504 of the Rehabilitation Act of 1973 (“Section 504”).

         2.      Pierson is a seventeen year-old student high school student residing in Flower

Mound, Texas, who has been diagnosed, among other things, with Mild Specific Learning

Disorder with Impairment in Mathematics, Moderate Specific Learning Disorder with

Impairment in Written Expression, Attention Deficit Hyperactivity Disorder, Auditory

Processing and Working Memory Deficits, Visual Processing Deficits, and Fine

Motor/Handwriting Deficits. Individually and collectively, these diagnoses reflect that Pierson

has one or more disabilities as defined by the ADA and Section 504.

         3.      Pierson is preparing to apply for early admission to college and must take

standardized tests to give himself a fair and equitable opportunity for such early admission into

his preferred schools. Colleges and universities use such scores as a tool to compare the relative

abilities of applicants.




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        4.       Defendant ACT, Inc., develops and administers the ACT1 exam, a standardized

examination used by many colleges and universities throughout the United States. As noted on

ACT’s website, “[e]ach year, ACT serves millions of students, job seekers, schools, government

agencies, and employers in the US and around the world with learning resources, assessments,

research, and credentials designed to help them succeed from elementary school through

career.”2

        5.       The benefits of scoring well on the ACT exam are not limited to enhanced

opportunity for admission to a chosen university or college. As the ACT itself asserts on its

website, not only can taking the ACT examination “[i]ncrease your chances for getting into the

college of your choice,”3 but it can “increase your chances of earning new or better scholarships”

and be used by colleges and universities “to place you in the right classes at the right level.”4

        6.       Pierson seeks to take the ACT exam as part of his effort to obtain early admission

into his chosen colleges and universities. In light of his disabilities, Pierson has requested

reasonable accommodations with respect to certain aspects of the ACT testing process.

Specifically, Pierson has requested preferential and an increase in the testing time allotted by a

factor of fifty percent (time and one half). These accommodations are required for Pierson to

have a fair and equal opportunity to obtain a score on the test that reflects his actual abilities—a

reasonable goal in that it is precisely the purpose of such a standardized test to measure such

abilities in a fair and equal manner.




1 ACT was originally an acronym for American College Testing.
2 See www.act.org (last reviewed on July 5, 2022).
3 See www.act.org (last reviewed on July 5, 2022).

4 See www.act.org/content/act/en/reasons-to-take-the-act.html (last reviewed on July 5, 2022)


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        7.       However, the ACT has denied Pierson’s request for these accommodations.

Rather than providing any grounds for such denial specifically tailored to Pierson’s factual

circumstances, the ACT has merely provided generic justifications for the denial that do not

provide Pierson with sufficient wherewithal with which to ascertain the specific factual bases for

the denial. Moreover, in the course of the denial, as explained below, the ACT has advanced

certain theories regarding the nature and characteristics of disability that are discriminatory on

their face.

        8.       The ACT offers its last testing administration date for the summer of 2022 on July

16, 2022. Pierson has registered for this July 2022 testing administration, but he requires the

reasonable accommodations he requests to have a fair and equal chance at a score on the ACT

exam that reflects his actual abilities relative to his peers. The ACT continues to deny his

request.

        9.       Without the appropriate accommodations, Pierson will lack a fair and equal

opportunity to show his aptitude and skill levels on the ACT and will thus lack a fair and equal

opportunity to compete for early admission into, to receive scholarships and other benefits from,

and to obtain proper placement considerations at his chosen colleges and universities. As

colleges and universities often serve as gatekeepers for future careers and life-trajectories,

Pierson thus faces the prospect of irreparable harm—harm exacerbated by the fact that it arises

from forms of disability discrimination recognized by Congress in the civil rights statutes as

“continu[ing] to be a serious and pervasive social problem.” 42 U.S.C. § 12101(a)(2).

        10.      In light of the continued wrongful conduct of Defendant ACT, Pierson seeks

injunctive relief in the form of a temporary restraining order, a preliminary injunction, and

finally a permanent injunction to prevent Defendant ACT from wrongfully continuing to deny



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him the reasonable accommodations he seeks in the form of preferential seating and an increase

in the testing time allotted by a factor of fifty percent (time and one half).

                                 II.     JURISDICTION AND VENUE

        11.      This Court has jurisdiction over this action and may grant the relief sought herein

pursuant to 28 U.S.C. §§ 1331 and 1343 by virtue of claims brought pursuant to the ADA, 42

U.S.C. § 12101 et seq., and Section 504, 29 U.S.C. § 794.

        12.      Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

events or omissions giving rise to the claims alleged herein occurred in this district in Flower

Mound, Texas, located primarily in Denton County. Furthermore, Defendant is doing business

in this judicial district by virtue of administering the ACT exam in this district and has sufficient

contacts for personal jurisdiction.

                                           III.   PARTIES

        13.      Pierson is a seventeen year-old high school student who resides in Flower Mound,

Texas. He has multiple disabilities for purposes of the ADA and Section 504. He intends to take

the ACT exam on July 16, 2022.

        14.      Defendant ACT, Inc., is a not-for-profit organization headquartered in Iowa City,

Iowa. ACT develops and administers the ACT exam, a standardized examination used in the

admission process by many colleges and universities in the United States. ACT is a private

entity that offers examination related to applications and credentialing to postsecondary

education, professional and trade purposes and is thus subject to the non-discrimination and

reasonable accommodation requirements of the ADA. ACT administers the ACT examination

throughout the country, including Texas and specifically including the Eastern District of Texas.




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        15.      ACT engages in business in Texas and in this judicial district, and this action

arises from those business activities.

                                           IV.     FACTS

        16.      Pierson is a seventeen year-old student high school student residing in Flower

Mound, Texas, who has been diagnosed, among other things, with Mild Specific Learning

Disorder with Impairment in Mathematics, Moderate Specific Learning Disorder with

Impairment in Written Expression, Attention Deficit Hyperactivity Disorder, Auditory

Processing and Working Memory Deficits, Visual Processing Deficits, and Fine

Motor/Handwriting Deficits. Individually and collectively, these diagnoses reflect that Pierson

has one or more disabilities as defined by the ADA and Section 504.

        17.      These diagnoses appear, for example, in a report drafted by a licensed

psychologist drafted in 2022 based on testing in January of that year. As explained in that report,

Pierson’s attention difficulties, visual processing issues, and other disability manifestations

increased as a result of four concussions, the latest of which required him to undergo a

concussion cognitive rehabilitation protocol. Testing demonstrated a Very Superior rating on the

General Abilities Index, which the licensed psychologist considered a more accurate estimate of

Pierson’s true abilities than the Full Scale IQ test. Pierson demonstrated significant weaknesses

with respect to short-term working memory and processing speed skills, along with moderate

difficulties with auditory attention, auditory processing, and auditory working memory. The

licensed psychologist recommended preferential seating and extended test time for all classes

and testing. The licensed psychologist specifically noted the need for extended time on the ACT

test and other standardized examinations.




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        18.      Pierson is preparing to apply for early admission to college and must take

standardized tests to give himself a fair and equitable opportunity for such early admission into

his preferred schools. Colleges and universities use such scores as a tool to compare the relative

abilities of applicants.

        19.      Defendant ACT, Inc., develops and administers the ACT5 exam, a standardized

examination used by many colleges and universities throughout the United States. As noted on

ACT’s website, “[e]ach year, ACT serves millions of students, job seekers, schools, government

agencies, and employers in the US and around the world with learning resources, assessments,

research, and credentials designed to help them succeed from elementary school through

career.”6 In particular, the ACT assessment purports to provide an indicator of college readiness.

        20.      The benefits of scoring well on the ACT exam are not limited to enhanced

opportunity for admission to a chosen university or college. As the ACT itself asserts on its

website, not only can taking the ACT examination “[i]ncrease your chances for getting into the

college of your choice,”7 but it can “increase your chances of earning new or better scholarships”

and be used by colleges and universities “to place you in the right classes at the right level.”8

        21.      The ACT assessment is administered within the United States on seven test dates

each year in September, October, December, February, April, June and July.

        22.      Pierson seeks to take the ACT exam as part of his effort to obtain early admission

into his chosen colleges and universities. In light of his disabilities, Pierson has requested

reasonable accommodations with respect to certain aspects of the ACT testing process.




5 ACT was originally an acronym for American College Testing.
6 See www.act.org (last reviewed on July 5, 2022).
7 See www.act.org (last reviewed on July 5, 2022).

8 See www.act.org/content/act/en/reasons-to-take-the-act.html (last reviewed on July 5, 2022)


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Specifically, Pierson has requested preferential seating and an increase in the testing time allotted

by a factor of fifty percent (time and one half). These accommodations are required for Pierson

to have a fair and equal opportunity to obtain a score on the test that reflects his actual abilities—

a reasonable goal in that it is precisely the purpose of such a standardized test to measure such

abilities in a fair and equal manner.

        23.      However, the ACT has denied Pierson’s request for these accommodations.

Initially, the ACT denied Pierson’s request on April 5, 2022. Rather than providing any grounds

for such denial specifically tailored to Pierson’s factual circumstances, the ACT merely provided

generic justifications for the denial that did not provide Pierson with sufficient wherewithal with

which to ascertain the specific factual bases for the denial. For example, the denial stated as

follows: “The request indicates that you did not receive this diagnosis until recently, and/or your

documentation does not support a history of difficulties associated with this diagnosis.” This

basis for the denial, restated in other variations elsewhere in the correspondence, made little

sense to Pierson and his family as they had already provided the report from the licensed

psychologist that explained the impact of Pierson’s four concussions on the symptomatology

associated with his attention and processing disorders. Moreover, nothing in the ADA requires a

lengthy “history of difficulties associated with [a particular] diagnosis.”9 Likewise, the ADA

requires that reports of those who have personally evaluated an applicant take precedence over

the views of reviewers who have not. See 28 C.F.R. pt. 36, app. A, at 796. In this case, the



9See, e.g., Final Report of the Best Practices Panel, established through Consent Decree in The
Department of Fair Employment and Housing v. Law School Admission Council, Inc., Case No.
3:12-cv-01830-JCS (N.D. Cal.), Dkt. No. 209-1, upheld in relevant part by 2015 U.S. Dist.
LEXIS 104751 (N.D. Cal. Aug. 7, 2015). In particular, see Final Panel Report at 14 (“Reviewers
shall not presume that a candidate does not have a disability when there is no history of a
disability or record of use of testing accommodations. A variety of factors can delay the
identification of a disability . . . .”)
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report of the licensed psychologist was completely uncontroverted. Furthermore, the College

Board, another private entity that develops and administers the Scholastic Aptitude Test (the

“SAT”) had no difficulty in granting Pierson’s requested accommodations as both reasonable

and appropriate. Nevertheless, they submitted further information to the ACT to show the need

for these accommodations, including correspondence from Pierson’s board-certified pediatrician.

The pediatrician further explained the impact of Pierson’s four concussions, which resulted in

episodes of extreme confusion and incoherence. Based on her own work with Pierson,

neurocognitive assessments, and her review of the testing done by the licensed psychologist in

January 2022, the pediatrician concurred with the recommendations made by the licensed

psychologist, including that Pierson have preferential seating and extended time on standardized

testing administrations.

        24.      Nevertheless, the ACT denied Pierson’s requested accommodations once more in

correspondence dated May 9, 2022. Some of the bases for the denial put forward were so non-

specific as to make it impossible to determine how they applied to Pierson, if at all. For

example, the denial letter asserted such platitudes as: “ACT provides testing accommodations in

accordance with the Americans with Disabilities Act (ADA). The purpose of accommodations is

to promote equal access for an individual with a disability.” Likewise, the letter stated:

“Accommodations are outcome neutral—that is, they are not intended to provide an advantage.”

These kinds of assertions provided no information to Pierson as to the basis for the denial of his

requests.

        25.      The only substantive explanation for the denial, other than a reiteration of the

mysterious assertion that Pierson needed to show the same educational impact over a more

extended period of time to demonstrate his disability for purposes of the ADA, was as follows:



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                 The requested accommodation is not approved because:
                    • A difference between intelligence and achievement, on its own, does not
                        indicate a disability under the Americans with Disabilities Act (ADA).
                            o By 2017, it had been well-known for many years that the diagnosis
                                of (learning) disability based on discrepancy analysis (aptitude-
                                aptitude and aptitude-achievement) is invalid.
                            o It is not uncommon for individuals to display differences between
                                their highest and lowest scores.
                    • Scores falling within or above the average range, no matter how discrepant
                        from your IQ, do not satisfy ADA requirements for a disability, which are
                        referenced to the functioning of most people in the general population.
                    • While the submitted evaluation suggests discrepancies between your
                        cognitive and achievement skills, your achievement was within or above
                        the average range for your age.
                    • Objective evidence which shows functioning in a major life activity (e.g.,
                        reading, thinking, concentrating) below the average person may provide
                        additional support for this request.

        As an initial matter, this assertion does not explain precisely what the ACT found lacking

in Pierson’s documentation. After all, as noted above, Pierson had already provided substantial

documentation as to the impact of the four concussions on his disability manifestations,

rendering them considerably more acute in recent years. Furthermore, he nowhere relied

exclusively on the discrepancy between cognitive and achievement skills as the basis for his

request for a reasonable accommodation. Rather, his evaluators pointed to such discrepancies by

way of confirmation of and evidence for the disabilities underlying that request. Finally, this

basis for the denial by the ACT implies that an applicant can show a disability only if the testing

scores relied on as evidence for that disability fall below the scores achieved by the average test-

taker. However, this approach fails for at least two reasons. First, it discriminates against the

highly intelligent applicant with a disability who can overcome the effects of that disability

sufficiently to score higher than the average test-taker, but not in such a manner as to achieve the

scores that he or she would have achieved in the absence of the disability. Second, it tends to

predetermine the effective scoring range of the applicants at issue. Those who receive


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accommodations are only those who would otherwise score below average and thus, by

extension, would presumably receive accommodations only to the extent those accommodations

are needed to push them just into the average range. Those who would not otherwise score

below average will receive no accommodations and will thus score in a range determined not just

by aptitude, but by the disability or disabilities as well. Far from providing applicants with

disabilities an equal playing field, such an approach willfully refuses to address the impact of the

disability on an affected applicant’s performance.

        26.      Pierson himself has the intellectual aptitude to achieve scores on standardized

examinations that exceed those of the average population, despite his multiple disabilities.

However, his disabilities prevent him from achieving scores on standardized examinations that

reflect his actual aptitude, which is precisely what standardized tests are intended to measure.

Pierson’s attention and processing deficits were explained and evidenced in his evaluations both

independently of testing and as factors that brought down his composite testing scores. Both the

attention and processing deficits substantially limit Pierson’s ability to learn, to concentrate, and

to think relative to the general population, but are often masked by his superior abilities in other

aspects.

        27.      In response to the second denial from ACT, Pierson and his family sent further

information explaining his disabilities that further demonstrated that such disabilities were not

evidenced merely by discrepancies between tested intelligence and achievement. The

documentation showed that, while practice helped Pierson improve his testing accuracy, it did

not help him improve his processing time, thus providing evidence that the processing

difficulties arose from Pierson’s disability. The documentation also included correspondence




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from Pierson’s attorney, explaining the relevant law and its application to the above-described

facts. Nevertheless, ACT denied the accommodation requests a third time.

        28.      ACT offers its last testing administration date for the summer of 2022 on July 16,

2022. Pierson has registered for this July 2022 testing administration, but he requires the

reasonable accommodations he requests to have a fair and equal chance at a score on the ACT

exam that reflects his actual abilities relative to his peers. As explained above, ACT continues to

deny his request.

        29.      Without the appropriate accommodations, Pierson will lack a fair and equal

opportunity to show his aptitude and skill levels on the ACT and will thus lack a fair and equal

opportunity to compete for early admission into, to receive scholarships and other benefits from,

and to obtain proper placement considerations at his chosen colleges and universities. As

colleges and universities often serve as gatekeepers for future careers and life-trajectories,

Pierson thus faces the prospect of irreparable harm—harm exacerbated by the fact that it arises

from forms of disability discrimination recognized by Congress in the civil rights statutes as

“continu[ing] to be a serious and pervasive social problem.” 42 U.S.C. § 12101(a)(2).

        30.      In light of the continued wrongful conduct of Defendant ACT, Pierson seeks

injunctive relief in the form of a temporary restraining order, a preliminary injunction, and

finally a permanent injunction to prevent Defendant ACT from wrongfully continuing to deny

him the reasonable accommodations he seeks in the form of preferential seating and an increase

in the testing time allotted by a factor of fifty percent (time and one half).

        V.       CAUSE OF ACTION: VIOLATION OF THE ADA

        31.      The allegations listed in paragraphs 1-30 above are incorporated herein by

reference.


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        32.      Plaintiff is an individual with a disability within the meaning of the ADA, 42

U.S.C. § 12101, et seq. Accordingly, Plaintiff is a qualified individual within the meaning of the

ADA in that he meets all the eligibility criteria for taking the ACT examination.

        33.      Plaintiff requires the reasonable accommodations he has requested to participate

in a fair, full, and equal basis on the ACT. The accommodations that Plaintiff has requested—

preferential seating and 50% extended time—would not impose a fundamental alteration or

undue burden on ACT, but would allow Pierson to take the ACT examination on an equal

playing field and would allow the examination to measure his abilities and aptitude fairly and

accurately.

        34.      Defendant administers the ACT examination, which is an examination related to

applications and credentialing for postsecondary education, professional, and trade purposes,

within the meaning of the ADA, 42 U.S.C. § 12189.

        35.      The ADA, 42 U.S.C. § 12189, requires Defendant to offer this examination in a

manner accessible to persons with disabilities.

        36.      Title III of the ADA deems discriminatory “a failure to make reasonable

modifications to policies, practices, and procedures when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities, unless the entity can demonstrate that making such modifications would

fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

accommodations[.]” 42 U.S.C. § 12182(b)(2)(A)(ii).

        37.      Granting Plaintiff the reasonable accommodations he requests would not

fundamentally alter the nature of any goods, services, facilities, privileges, advantages, or

accommodations provided by Defendant.



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        38.       The applicable regulations promulgated by the Department of Justice mandate

that a private entity offering examinations modify its examination as necessary to ensure full and

equal access to persons with disabilities, including through the provision of extra time to permit

completion.” 28 C.F.R. §§ 36.309(b) & (c).

        39.       The applicable regulations promulgated by the Department of Justice prohibit

Defendant from administering the ACT examination without ensuring that the scores reported

“accurately reflect the applicant’s aptitude or achievement level or whatever other factor the test

purports to measure, rather than reflecting the applicant’s [disability].” 28 C.F.R.

§ 36.309(b)(1)(i).

        40.       The ADA Guidance promulgated by the Department of Justice further provides

that “[r]eports from experts who have personal familiarity with the candidate should take

precedence over those from, for example, reviewers for testing agencies, who have never

personally met the candidate or conducted the requisite assessments for diagnosis and

treatment.” 28 C.F.R. pt. 36, app. A, at 796.

        41.       Defendant has discriminated and continues to discriminate against Plaintiff on the

basis of his disability by denying him an equal opportunity to demonstrate his aptitude and

achievement level on the ACT examination in violation of the ADA, specifically 42 U.S.C.

§§ 12182 and 12189, and its implementing regulations, including 28 C.F.R. § 36.309.

        42.       Defendant’s discriminatory policies and practices violate Plaintiff’s rights under

the ADA and its implementing regulations. Defendant’s discriminatory policies include but are

not limited to:

                  a.      Failure to grant requested reasonable accommodations when Plaintiff
                          submitted appropriate documentation justifying those accommodations.

                  b.      Failure to give appropriate weight to Plaintiff’s evaluators.


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                 c.       Failure to provide a clear explanation for denial.

                 d.       Failure to offer examination in a manner that is accessible to individuals
                          with disabilities and best ensures that the examination accurately reflects
                          Plaintiff’s aptitude, achievement level, or whatever other factor the
                          examination purports to measure.

                 e.       Failure to engage in good faith in the interactive process to consider and to
                          implement effective accommodations with respect to Plaintiff’s disability.

                 f.       Failure to conduct a proper review and to apply appropriate legal
                          standards to Plaintiff’s request for reasonable and appropriate
                          accommodations.

                 g.       Placing an extreme burden of proof, beyond what is required by the ADA,
                          to establish Plaintiff’s disability or need for accommodations.

        43.      Plaintiff will be irreparably harmed if Defendant continues its unlawful refusal to

provide him the reasonable and appropriate test accommodations he requests and unless this

Court grants injunctive relief prohibiting the continued violation of Plaintiff’s rights under the

ADA and compelling Defendant to provide the requested accommodations.

        44.      Defendant will not be harmed if this Court grants the requested injunctive relief.

Thus, the balancing of harms favors granting the requested injunctive relief.

        45.      The public interest will be served by granting the requested injunctive relief. The

ADA was enacted as a matter of public policy to ensure that persons with disabilities are treated

fairly and provided with opportunities equal to those persons in the community without

disabilities. The public interest will not be served by allowing Defendant to continue its

unlawful refusal to provide Plaintiff with the ADA accommodations to which he is justly

entitled.

        46.      Defendant’s conduct constitutes an ongoing and continuous violation of the ADA.

Unless enjoined from doing so, Defendant will continue to violate the ADA. This conduct,




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unless enjoined, will continue to inflict injuries for which Plaintiff has no adequate remedy at

law. Consequently, Plaintiff is entitled to injunctive relief under the ADA, 42 U.S.C. § 12188.

                 VI.      CAUSE OF ACTION: VIOLATION OF SECTION 504

        47.      The allegations listed in paragraphs 1-46 above are incorporated herein by

reference.

        48.      Section 504 of the Rehabilitation Act of 1973 mandates that “[n]o otherwise

qualified individual with a disability . . . shall, solely by reason of her or his disability, be

excluded from the participation in, be denied the benefits of, or be subjected to discrimination

under any program or activity receiving Federal financial assistance[.]” 29 U.S.C. § 794(a).

        49.      Such federally funded programs and activities may not “[a]fford a [person with a

disability] an opportunity to participate in or benefit from the aid, benefit, or service that is not

equal to that afforded others[.]” 45 C.F.R. § 84.4(b)(1)(ii). On the contrary, they must “afford

[persons with disabilities] equal opportunity to obtain the same result, to gain the same benefit,

or to reach the same level of achievement, in the most integrated setting appropriate to the

person’s needs.” 45 C.F.R. § 84.4(b)(2).

        50.      Defendant receives federal grants, contracts, and other financial assistance,

thereby subjecting itself to the requirements of Section 504.

        51.      Plaintiff is a qualified individual with a disability under Section 504.

        52.      Defendant has, solely by reason of Plaintiff’s disability, excluded Plaintiff from

participation in, denied him the benefits of, and otherwise discriminated against him in its

service, programs or activities.

        53.      As a proximate result of Defendant’s discrimination, Plaintiff has suffered and

continues to suffer irreparable harm.



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                                         VIII. RELIEF REQUESTED

        54.      WHEREFORE, Plaintiff prays that the Court enter an ORDER:

    a. Temporarily restraining and then preliminarily enjoining Defendant from continuing to

        refuse to grant Plaintiff’s request for reasonable accommodations on the ACT

        examination and specifically on its July 16, 2022, administration, including preferential

        seating and an increase in the testing time allotted by a factor of 50% (time and one half);

    b. After a final hearing on the merits, converting the temporary restraining order and

        preliminary injunction referenced in paragraph (a) above into a permanent injunction;

    c. Awarding Plaintiff attorney fees and costs, pursuant to the ADA and Section 504; and

    d. Granting Plaintiff such additional relief as the interests of justice may require.



    DATED: July 7, 2022

                                                              Respectfully submitted,

                                                              s/ Mark Whitburn
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